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                                THE STATE OF NEW HAMPSHI
                                              JUDICIAL BRANCH                                Mai 222~~2
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                                                 SUPERIOR COURT
 Merrimack Superior Court                                                                    Telephone:               212-1234
 5 Court Street                                                                                                   0) 735-2964
 Concord NH 03301                                                                           ht   io : vi if .courts.state.nh.us




                                                                                                                 rt CQ
                                     SUMMONS IN A CIVIL ACTION



 Case Name:             Stephen DiChiara v Town of Salem, et al
 Case Number:           217-2022-CV-00433

 Date Complaint Filed: March 04, 2022
 A Complaint has been filed against New Hampshire Attorney General; Town of Salem in this Court. A
 copy of the Complaint is attached.

 The Court ORDERS that ON OR BEFORE:
 April 24, 2022        Stephen DiChiara shall have this Summons and the attached Complaint
                       served upon New Hampshire Attorney General; Town of Salem by in hand
                       or by leaving a copy at his/her abode, or by such other service as is
                       allowed by law.
 May 15, 2022                  Stephen DiChiara shall electronically file the return(s) of service with this
                               Court. Failure to do so may result in this action being dismissed without
                               further notice.
 30 days after Defendant       New Hampshire Attorney General; Town of Salem must electronically file
 is served                     an Appearance and Answer or other responsive pleading form with this
                               Court. A copy of the Appearance and Answer or other responsive
                               pleading must be sent electronically to the party/parties listed below.

Notice to New Hampshire Attorney General; Town of Salem: If you do not comply with these
requirements you will be considered in default and the Court may issue orders that affect you without
your input.
Send copies to:
 Christopher A. Bandazian,                 Borofsky Amodeo-Vickery & Bandazian PA 708 Pine St
 ESQ                                       Manchester NH 03104
 Town of Salem                             33 Geremonty Road Salem NH 03079
 New Hampshire Attorney                    33 Capitol Street Concord NH 03301
 General
                                                                  BY ORDER OF THE COURT

March 10, 2022                                                    Catherine J. Ruffle      3/010V0V,                     o
                                                                  Clerk of Court            DATE:              TIME
(126849)                                                                                    LOCATION:
                                                                                               RICE:)

NHJB-2678-Se (07/01/2018)
                                  This is a Service Document For Case: 217-2022-CV-00433                    1ARD PAPPALARDO O182
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                                                                                                             E-Filed Documen




                                         STATE OF NEW HAMPSHIRE

 MERRIMACK, SS                                                        SUPERIOR COURT
                                                       217-2022-CV-00433
                                              Docket No.

                                             STEVEN DICHIARA

                                                          v.
                                              TOWN OF SALEM

                                                        and
                             NEW HAMPSHIRE ATTORNEY GENERAL


                                         PRELIMINARY STATEMENT

 1.       This is a Civil Rights violation and invasion of privacy action in which Plaintiff, Steven

DiChiara, seeks relief for the violation by Defendant Town of Salem and Defendant Office of the

New Hampshire Attorney General of Plaintiffs rights secured by 42 U.S.C §1983, Plaintiff's

rights and privileges secured by the Fourth and Fourteenth Amendments of the United States

Constitution, Part I, Articles 2-b and 19 of the New Hampshire Constitution, New Hampshire

RSA 281-A:21-b, New Hampshire RSA 329:26, and the Common Law of the State of New

Hampshire.

         This action arises out of the Defendants' warrantless and unlawful seizure of Plaintiffs

privileged medical records, mental health records, and confidential worker's compensation

records for the illicit purpose of investigating Defendant Salem's allegation of "possibly

fraudulent activity" in connection with Plaintiffs then pending claims for worker's

compensation benefits for disabling injuries sustained in the course of his employment as a

Salem police officer and for New Hampshire Retirement System accidental disability retirement

benefits I . After the resulting criminal investigation of the Plaintiff by the Office of the New



' Pursuant to NI-1 RSA 100-A:6 II (c).

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                               This is a Service Document For Case: 217-2022-CV-00433
                                               Merrimack Superior Court
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 Hampshire Attorney General lasting in excess of 8 months, the allegations against Plaintiff were

 deteiriiined to be meritless by the New Hampshire Attorney General. Shortly thereafter,

 Plaintiffs worker's compensation litigation with Defendant Salem concluded with the

 determination of the New Hampshire Worker's Compensation Appeals Board in Plaintiff's

 favor; and Plaintiff was awarded accidental disability retirement benefits by the New Hampshire

 Retirement System Board of Trustees as well.

         As a result of Defendants' state action and unlawfully seizure of Plaintiffs confidential

 medical records, mental health records, and worker's compensation records and the harm to

 Plaintiff proximately caused thereby, Plaintiff seeks the award of damages that include

 compensatory damages, damages for emotional distress, punitive damages, enhanced

 compensatory damages, costs, interest, and Plaintiffs attorney's fees. Plaintiff additionally seeks

 equitable and injunctive relief that includes enjoining Defendants from future prohibited

 publication or other use of Plaintiffs confidential information.

                                PARTIES AND JURISDICTION


 2.      Plaintiff Stephen DiChiara is an adult residing at 12 Brandy Rock Road, Deny, New

 Hampshire 03038.

 3.      Defendant Town of Salem, a political subdivision of the State of New Hampshire

authorized by statute to elect Selectmen, appoint a Town Manager with powers delineated in NH

RSA 37:6, and oversee its government, is located at 33 Geremonty Drive, Salem, New Hampshire

03079.

4.       Defendant Office of the New Hampshire Attorney General is an agency of the State of

New Hampshire located at 33 Capitol Street, Concord, New Hampshire 03301.

5.       The Court has subject matter jurisdiction pursuant to NH RSA 491:7.


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 6.        Merrimack County Superior Court has proper venue pursuant to NH RSA 507:9 as

 Defendant Office of the New Hampshire Attorney General is an inhabitant of Concord, New

 Hampshire.

                                                  ALLEGATIONS


 7.       Plaintiff repeats and realleges each and every allegation set forth hereinabove as if fully

set forth herein.

8.        This is a Civil Rights violation and invasion of privacy action in which Plaintiff seeks

relief for the violation by Defendants Town of Salem, New Hampshire and the Office of the New

Hampshire Attorney General, of his rights secured by 42 U.S.C. §1983, Plaintiffs rights and

privileges secured by the Fourth and Fourteenth Amendments of the United States Constitution,

Part I, Articles 2-b and 19 of the New Hampshire Constitution, New Hampshire RSA 281-A:21-

b, New Hampshire RSA 329:26, and the Common Law of the State of New Hampshire.

9.       On June 18, 2019, Plaintiff, in the course of his occupation as a Town of Salem Patrol

Officer, effected a traffic stop on I-93 of a vehicle operated by a felon in possession of a loaded

firearm which event resulted in Plaintiffs development of post-traumatic stress disorder that

disabled him from performing the regular duties of his occupation.

10.      Defendant Salem reported Plaintiffs work-related injury to the New Hampshire Labor

Department Worker's Compensation Division.

11.      Pursuant to New Hampshire Worker's Compensation Statute RSA 281-A:23 V(a)(1)2,

Defendant Salem came into possession of Plaintiff's medical records and mental health records


2 V. (a)(1) The act of the worker in applying for workers' compensation benefits constitutes authorization to any
physician, hospital, chiropractor, or other medical vendor to supply all relevant information regarding the worker's
occupational injury or illness to the insurer, the insurer's representative, the worker's employer, the worker's
representative, the worker's employer's representative, and the depai talent. Medical information relevant to a claim
includes a past history of complaints of, or treatment of, a condition similar to that presented in the claim. Any party
authorized to request medical information under this subparagraph shall include the following notice in their request

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 filed with the New Hampshire Depai tuient of Labor, as well as folins, transcripts,

 correspondence, and other confidential documents related to the worker's compensation claim.

 12.      Defendant Salem's permitted statutory use of Plaintiffs documents that it thereby

 acquired, was and is strictly limited by RSA 281-A:21-b3 to worker's compensation proceedings

which prohibited Defendant's release of Plaintiffs worker's compensation claim documents to

any other parties without the prior written peimission of the claimant.

13.       Additionally, the confidentiality of Plaintiffs relations and communications with his

medical providers was and is protected by NH RSA 329:26.

14.       Defendants, and each of the, engaged in the warrantless and unlawful seizure of

Plaintiffs privileged medical records, mental health records, and worker's compensation

records.

15.       Defendants did so for the purpose of investigating Defendant Salem's allegation of

"possibly fraudulent activity" in connection with Plaintiffs then pending claims for worker's

compensation benefits for permanently disabling injuries sustained in the course of his

employment as a Salem police officer and New Hampshire Retirement System accidental

disability retirement benefits.




for medical records in bold print in a font size at least 2 points larger than that used in the request:
"This request is strictly limited to medical information relevant to the occupational injury or illness that underlies the
patient's workers' compensation claim, including any past history of complaints of, or treatment of, a condition
similar to that presented in the claim."
  281-A:21-b Confidentiality of Workers' Compensation Claims. Proceedings and records of the
department of labor with respect to workers' compensation claims under RSA 281-A shall be exempt from
RSA 91-A. Nothing in this section shall prohibit the department of labor from releasing information on a
person's claim or claims to the person, the person's legal representative, attorney, health care providers,
employer, the employer's workers' compensation insurer, the attorneys for the employer or employer's
insurer, or state and federal agencies with relevant jurisdiction. Notwithstanding the provisions of this
section, information relating to a person's claim or claims may be released to other parties only with the
prior written permission of the claimant.



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 16.     At no time did Plaintiff provide Defendant Salem with permission required by RSA 281-

 A:21-b to release of his confidential medical records, mental health records, or worker's

 compensation records to other parties.

 17.     At no time did either Defendant in this action by means of a warrant, subpoena, or other

judicial process, lawfully seize Plaintiffs confidential medical records, mental health records, or

worker's compensation records.

18.      On or about February 24, 2020, Defendant Salem Town Manager Dillon emailed then

Attorney General Gordon McDonald, Deputy Attorney General Jane Young, and Senior

Attorney General Geoffrey Ward, stating:

         "I would like to sit with someone from your office to make you aware of possible

         fraudulent activity."

19.      On March 6, 2020, Defendant Salem Human Resources Director Anne Fogarty mailed a

binder containing Plaintiffs privileged and confidential medical records, mental health records,

and worker's compensation records to Deputy Attorney General Jane Young.

20.     Fogarty's March 6, 2020 cover letter accompanying the binder sent to Deputy Attorney

General Young, complained about the cost of worker's compensation claims and costs associated

with the award of accidental disability retirement benefits by the New Hampshire Retirement

System, specifically discussing at pages 4-5 of her cover letter Plaintiffs upcoming

Compensation Appeals Board hearing (which resulted in the aforesaid determination in favor of

the Plaintiff).

21.     Fogarty's March 6, 2020 cover letter asserted, inter alia:

        "It appeared to me that [Plaintiff) possibly enhanced the injury when describing

        what occurred to his providers."



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 22.    On March 12, 2020, Fogarty emailed Deputy Attorney General Young and Senior

 Attorney General Ward stating:


        Thank you both for taking the time to speak to us on Friday. I know you are both
        very busy and I appreciate the time you spent. I understand you are limited on
        what you can say and actions that can be taken. The clarification on "wrong
        versus criminal" may be a no brainer to you but for me it was a new way of
        thinking The cost to the taxpayer along with the waste of taxpayer funds and the
        ramification are a huge concern to us.

23.     On April 24, 2020, Dillon emailed Attorneys Young and Ward stating:


        When we left, I was under the impression you were going to go through the
        binder and possibly decide if this warrants an investigation. You may be unable to
        share whether that is occurring, but if you could indicate whether it will be looked
        at, I would appreciate it.
24.     On May 4, 2020, Attorney Ward emailed Dillon stating:


       We are still reviewing the materials you provided and hope to be able to let you
       know shortly whether or not we would open a criminal investigation in the issues
       you've raised.
25.    On August 6, 2020, Fogarty emailed Attorneys Young and Ward regarding the status of

Plaintiff's civil claim for worker's compensation benefits stating, inter alias


       I have spent numerous hours at the tax payer's [sic] expense fighting a battle I
       cannot win alone. I am requesting guidance on how to move forward.

26.    On August 6, 2020, Deputy Attorney General Young responded:


       Attorney Ward is out of the office on leave and Attorney Agati is overseeing the
       day-to-day operations of the criminal bureau. He will have these materials
       reviewed and ensure there is follow-up with you.

27.    Approximately 37 minutes later on August 6, 2020, Attorney Ward also

responded to Fogarty:


       I will ensure these are reviewed promptly and that our office responds back to you
       as soon as that is completed.


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 28.    Approximately 9 minutes later on August 6, 2020, Fogarty replied to Attorneys Young,

 Ward, Agati, and Strezlin:


        Thank you very much for your quick reply.

        We were just notified the WC Appeals Board hearing for [Plaintiff] has been
        scheduled September 21st.

        Have a nice day.

 29.    On September 3, 2020, Fogarty emailed Attorney Agati stating:


        I provided a lot of confidential information to your office with regards to workers
        compensation claims and former employees. . .

        I have not heard back regarding my email below any possibility of an update?
30.     Responding by correspondence to Fogarty dated November 23, 2020, (then) Criminal

Justice Bureau Assistant Attorney General Nicole Clay stated:


        I have reviewed the infoiuiation contained in the binder and the email you sent to
        this Office on August 6, 2020, as well as relevant statutes. In each case of
        disability retirement, the Town ultimately did not dispute the conferment of
        benefits to the employee.
       This office will initiate a criminal investigation when there is evidence to support
       a reasonable suspicion of actual illegal conduct which, in turn, would suggest that
       further investigation would likely discover the existence of probable cause to
       believe that a crime had been committed. The information provided does not
       support a criminal allegation on the part of any Town of Salem employee or
       fotiner employee. Even if it did, I cannot conclude that further investigation
       would uncover the existence of probable cause to believe a crime has been
       committed.
31.    The above-described continuing violation of Plaintiff's rights commenced with Town

Manager Dillon's February 24, 2020 email to the New Hampshire Attorney General.

32.    Dillon's February 24, 2020 email followed a February 22, 2020 newspaper article

quoting Dillon on his dissatisfaction with the costs associated with New Hampshire Retirement




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 System accidental disability retirement benefits and was with the knowledge of Salem Board of

 Selectmen members.

 33.     Defendants, and each of them, are vicariously liable for the wrongful conduct of their

 employees who were acting in the scope of their employment.

 34.    Defendants, and each of them, are liable pursuant to respondeat superior for the wrongful

 conduct of their employees who were acting in the scope of their employment.

 35.    Acting under color of state law, Defendants' violated Plaintiff's Civil Rights, Federal and

 State Constitutional Rights, and Plaintiffs statutory and Common law privacy rights, unlawfully

seized Plaintiffs medical records, mental health records, worker's compensation records, and

defamed his reputation.

36.     The conduct of the Defendants, and each of them, constituted state action.

37.     Defendant Salem, including by and through its Town Manager and Human Resources

Director deprived Plaintiff of his constitutionally protected rights in their official capacity, and

did so deliberately, systematically, and repetitively.

38.     Defendant Salem, by policy, practice or custom, expressly and/or impliedly, encouraged

or condoned said misconduct.

39.     Defendant Salem's policy, practice, or custom was a substantial factor in causing the

constitutional deprivation of Plaintiffs right against unreasonable seizure of his medical records,

mental health records, and worker's compensation records.

40.     Defendant Office of the New Hampshire Attorney General, by policy, practice or custom,

expressly and/or impliedly, encouraged or condoned said misconduct.

41.     Defendant Office of the New Hampshire Attorney General's policy, practice, or custom

was a substantial factor in causing the constitutional deprivation of Plaintiffs right against



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 unreasonable seizure of his medical records, mental health records, and worker's compensation

 records.

 42.    Defendant Office of the New Hampshire Attorney General deprived Plaintiff of his

 constitutionally protected rights in its official capacity, and did so deliberately, systematically,

and repetitively.

43.     In addition to violating Plaintiffs protected privacy rights and rights against

unreasonable searches and seizures under the Federal and State Constitutions, Defendants, and

each of them, violated New Hampshire RSA 281-A:21-b.

44.     Defendants' warrantless and prohibited seizure of Plaintiffs worker's compensation

documents, including Plaintiffs medical records and mental health records obtained by

Defendant Salem in connection therewith, was without Plaintiffs permission contrary to the

requirements of RSA 281-A:21-b.

45.     Defendants' actions as aforesaid were additionally in violation of Plaintiffs statutory

rights pursuant to NH RSA 329:26 to the confidentiality of his relations and communications

with his medical providers.

46.     For the reasons set forth hereinabove, Plaintiffs protected infoll iation, initially

unlawfully seized by Defendant Salem, was wrongfully accepted by Defendant Office of the

New Hampshire Attorney General for the purpose of conducting an investigation of a criminal

conduct allegation by Defendant Salem.

47.    Defendants thereafter engaged in a joint continuing violation of Plaintiffs Civil Rights,

Federal and State Constitutional rights, statutorily protected rights, and Common Law rights.




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 48.      Defendants wrongfully branded Plaintiff a potential criminal notwithstanding his

 meritorious worker's compensation claim and New Hampshire Retirement System accidental

 disability retirement entitlement .

;49.      Defendants' proximately caused harm to the Plaintiff including, without limitation, harm

 to his reputation, emotional distress, past and future expenses for treatment of his emotional

distress, and loss of earning capacity.

50.       The conduct of the Defendants, and each of them, was in violation of, and deprived

Plaintiff of his Civil Rights pursuant to 42 U.S.C. §1983, and his rights and privileges secured by

the Fourth and Fourteenth Amendments of the United States Constitution, Part I, Articles 2-b and

19 of the New Hampshire Constitution, New Hampshire RSA 281-A:21-b, New Hampshire RSA

329:26.

51.     The conduct of the Defendants, and each of them, was in violation of their duties to the

Plaintiff under the Common Law of the State of New Hampshire including Common Law

invasion of privacy, intentional and negligent infliction of emotional distress, and

defamation/false light.

52.     The conduct of the Defendants, and each of them, was plainly egregious, objectively

unreasonable, reckless, and/or in callous indifference to Plaintiff's protected Federal and State

rights of privacy and rights against unreasonable seizure of his medical records, mental health

records, and worker's compensation records.

53.    As a direct, proximate, and foreseeable result of Defendants' intentional and unlawful

conduct, including without limitation as aforesaid, Plaintiff has suffered harm to his reputation,

emotional distress requiring medical treatment and the physical symptoms thereof, past and

future medical expenses, and a loss of earning capacity.



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54.      Plaintiff's claims for damages that result from Defendants' wrongful conduct and the

harm caused thereby include compensatory damages, emotional distress damages, special

damages, punitive damages, enhanced compensatory damages, costs, interest, and attorney's

fees.

55.     Plaintiff is entitled to the award of injunctive relief to enjoin the parties from the

continued seizure and prohibited use of his confidential information.

56.     WHEREFORE, Plaintiff respectfully prays:

        A. That the Court award him damages including compensatory damages, damages for

            emotional distress, punitive damages, enhanced compensatory damages, costs,

            interest, and Plaintiff's attorney's fees;

        B. That the Court Order affirmative and equitable relief as follows:

               a. Enjoin Defendant Salem from future publication or other use of Plaintiff's
                  confidential information prohibited by RSA 281-A:21-b;
               b. Enjoin Defendant Salem from the warrantless use of confidential information
                  obtained pursuant to RSA 281-A:23 V(a)(1) to investigate criminal allegations
                  against injured Town of Salem employees seeking worker's compensation
                  benefits;
               c. Enjoin Defendant Salem from the prohibited use of confidential worker's
                  compensation claimant documents for the purpose of chilling Salem
                  employees from pursuing civil claims for worker's compensation benefits;
               d. Enjoin Defendant Salem from the prohibited use of confidential worker's
                  compensation claimant documents for the purpose of obtaining negotiating
                  advantage in civil claims for worker's compensation benefits; and
               e. Order Defendant New Hampshire Office of the Attorney General to purge its
                  files of Plaintiff's confidential medical records, mental health records, and
                  worker's compensation records exchanged with Defendant Salem;


        C. That the Court grant such other and further relief as this Court deems just and

           equitable.




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                                     Respectfully Submitted,
                                     Steven DiChiara
                                     By His Attorneys
                                     Borofsky, Amodeo-Vickery & Bandazian, P.A

                                     /s/ Christopher A. Bandazian
Dated: March 4, 2022
                                     Christopher A. Bandazian, Esquire
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                                     NH Bar No. 353




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